08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 1 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 2 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 3 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 4 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 5 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 6 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 7 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 8 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                     Pg 9 of 10
08-13555-mg   Doc 53644   Filed 09/12/16 Entered 09/12/16 05:29:52   Main Document
                                    Pg 10 of 10
